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                        UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION



CHAMBER OF COMMERCE OF THE
UNITED STATES OF AMERICA, et al.,

             Plaintiffs,
                                              Case No. 6:24-cv-00148-JCB
v.

FEDERAL TRADE COMMISSION, et al.,

             Defendants.



     DEFENDANTS’ MOTION TO LIMIT RELIEF TO PLAINTIFFS’ IDENTIFIED
          MEMBERS, OR IN THE ALTERNATIVE, TRANSFER VENUE
                   UNDER THE FIRST-TO-FILE RULE




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                                        INTRODUCTION

       Non-compete clauses (“non-competes”) by their very definition restrict competition in labor

and product services markets by preventing individuals from moving freely to switch jobs or start

their own businesses. As a result, non-competes suppress wages, dampen innovation, prevent

businesses from hiring the talent necessary to be successful, and inhibit new businesses from starting.

For many workers, the use of non-competes is also coercive, because contracts containing

non-competes are forced upon them unilaterally under circumstances in which they have little to no

bargaining power vis-à-vis the employer. After years of studying the competitive harms wrought by

non-competes, and after considering thousands of public comments, the Federal Trade Commission

(“Commission”) voted to use its rulemaking authority under the Federal Trade Commission Act

(“FTC Act”) to declare the use of non-competes unlawful as an unfair method of competition, with

some exceptions.

       Within a day of the Commission’s vote, and before the Final Rule was published in the Federal

Register, two lawsuits were filed in different federal courts. The first was brought by an individual

company, Ryan, LLC, in the Northern District of Texas. The second, this case, was brought the next

day by four membership associations in the Eastern District of Texas.

       In response to this Court’s order requiring the disclosure of whether any party in a related case

is a member of the plaintiff associations here, Plaintiffs have represented that Ryan is a member of

one of those associations—the Texas Association of Business—but refuse to disclose whether Ryan

is a member of the much larger U.S. Chamber of Commerce (“Chamber”). In any event, Plaintiffs

seek “to pursue litigation on behalf of all of [their] members,” while also representing that Ryan “will

not seek to enforce any remedy in this suit that is limited to [their] members.” Pls.’ Notice of Related

Cases (“Notice”) ¶¶ 4, 6 (emphasis added), ECF No. 21. Plaintiffs’ position that an association may

litigate on behalf of its entire anonymous membership, purportedly totaling in the millions, while

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carving out a single member when it suits them has no basis in associational standing caselaw and

contravenes equitable principles regarding the appropriate scope of remedies. In essence, Plaintiffs

seek to litigate as a class, without fulfilling the requirements of Rule 23. Compounding these problems

is Plaintiffs’ insistence that they need not identify their members at all, even in response to a judicial

inquiry regarding related cases. Under that theory, any of Plaintiffs’ millions of undisclosed members

would be free to pursue parallel litigation while waiting to see how this lawsuit develops before

deciding whether to avail themselves of any relief here, or instead opt out and pursue their own claims

elsewhere. That is not the law.

        Plaintiffs cannot have it both ways. They may litigate this case on behalf of only those

members whom they have specifically identified and who have given them authority to do so.

Alternatively, if this Court determines that Plaintiffs may proceed as associational entities and that any

ultimate relief would flow to all of their members, Plaintiffs cannot pick and choose throughout the

litigation which of those members would or would not be the beneficiary of that potential relief. And

if the Court agrees with that latter theory of associational standing, then under principles of comity,

judicial administration, and uniformity, this case should be transferred to the Northern District of

Texas under the first-to-file rule. That is because this case and the Ryan case present substantially

similar legal issues, seek nearly identical relief, and are both at early stages of litigation. Transfer

therefore would prevent the “possibility of two bites at the apple or inconsistent judgments” for Ryan.

Scheduling Order at 2, ECF No. 20.

                                           BACKGROUND

I.      The Federal Trade Commission’s Non-Compete Rule

        Congress directed the Commission in Section 5 of the FTC Act to “prevent” individuals and

business from using “unfair methods of competition in or affecting commerce,” which are unlawful.

15 U.S.C. § 45(a)(1)-(2). The FTC Act authorizes the Commission to undertake this task through both


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adjudication under Section 5(b), see id. § 45(b), and rulemaking under Section 6(g), see id. § 46(g). On

April 23, 2024, the Commission utilized its rulemaking authority to issue a rule concluding that it is an

unfair method of competition, and thus unlawful, to enter into non-competes and to enforce certain

non-competes after the rule’s effective date. See Fed. Trade Comm’n, Non-Compete Clause Rule, RIN

3084-AB74 (Apr. 23, 2024) (to be codified at 16 C.F.R. part 910), https://perma.cc/4JXF-LXBW

(“the Final Rule”).

        After initially proposing a rule declaring non-competes an unfair method of competition in

2023, the Commission carefully reviewed more than 26,000 comments received in response to its

notice of proposed rulemaking. Id. at 2. In the Final Rule, the Commission relied on consideration of

these comments, as well as its own economic analysis, to find that the use of non-competes is

“restrictive and exclusionary conduct” that has an adverse impact on competitive conditions in both

labor markets and product and service markets. Id. at 105. Specifically, the Commission found that

non-competes “facially restrict competitive activity” by “restricting a worker’s ability to seek or accept

other work or start a business after the worker leaves their job, and by restricting competitors from

hiring that worker.” Id. at 113. The Commission also found that for non-senior executives, as defined

in the Final Rule, the use of non-competes is “exploitative and coercive” conduct that similarly harms

both labor markets and product and services markets. Id. at 105-06. For these workers, the

Commission concluded that non-competes are “almost always unilaterally impose[d]” by employers,

who “exploit[] their superior bargaining power to impose—without any meaningful negotiation or

compensation—significant restrictions on a worker’s ability to leave for a better job or to engage in

competitive activity.” Id. at 117. Non-competes thus “force workers to either stay in a job they want

to leave or bear other significant harms and costs, such as leaving the workforce or their field for a

period of time; relocating out of their area; or violating the non-compete and facing the risk of

expensive and protracted litigation.” Id. at 126.

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        To address the facially restrictive, and often exploitative, use of non-competes, the Final Rule

makes it an unfair method of competition to “enter into or attempt to enter into a non-compete

clause,” “enforce or attempt to enforce a non-compete clause,” or “represent that [a] worker is subject

to a non-compete clause” for most employees. Id. at 564. The Final Rule treats senior executives

differently with respect to non-competes that are in place before the rule becomes effective, allowing

those non-competes to remain in effect. Id. For non-senior executives, the Final Rule also requires

employers to provide notice that it is an unfair of method of competition to enforce non-competes

that are in use as of the rule’s effective date, 120 days after publication of the Final Rule in the Federal

Register (which has not yet happened). Id. at 1, 565. Publication is expected on May 7, 2024. See Federal

Register, April 30, 2024 Public Inspection Issue, https://perma.cc/4LVX-DLTB.

        In addition to the positive impact on individuals’ economic liberty, the Commission estimates

that the Final Rule will result in sizable and important benefits for the American economy overall. The

Commission projects the Final Rule will increase new business formation by 2.7% annually, Final Rule

at 322, and spawn innovation, with the Commission projecting more than three million new patents

being filed in the first year alone, and up to thirty-one billion in ten years. Id. at 471. Worker earnings

are projected to increase by $400 to $488 billion over ten years. Id. at 464. Finally, the Commission

“finds that consumer prices may fall under the final rule because of increased competition.” Id. at 476.

II.     Ongoing Challenges to the Non-Compete Rule

        On April 23, 2024, the date the Commission voted to approve the Final Rule, Ryan filed a

lawsuit in the U.S. District Court for the Northern District of Texas asking the Court to “[v]acat[e]

and set[] aside” the Final Rule and seeking declaratory judgment. Compl., Prayer for Relief ¶ 75, Ryan,

LLC v. FTC, No. 3:24-cv-986 (N.D. Tex. Apr. 23, 2024) (“Ryan Compl.”).

        The day after Ryan filed its suit in the Northern District of Texas, Plaintiffs, four membership

organizations, filed this lawsuit in the U.S. District Court for the Eastern District of Texas. Compl.,


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ECF No. 1 (Apr. 24, 2024). Plaintiffs also seek an order vacating and setting aside the Final Rule, in

addition to a declaratory judgment and other miscellaneous relief, including a permanent injunction.

Id., Prayer for Relief. On the same day they filed suit, Plaintiffs moved to stay the effective date of the

Final Rule and for a preliminary injunction. Pls.’ Mot. for Stay of Effective Date & Prelim. Inj., ECF

No. 12 (Apr. 24, 2024) (“Pls.’ Mot.”). As of the date of this filing, Plaintiffs have not perfected service

under Fed. R. Civ. P. 4. 1, 2

        On April 26, 2024, this Court entered a scheduling order setting forth a comprehensive plan

to manage this case. Scheduling Order, ECF No. 20. As relevant here, the Court set April 29, 2024,

as the deadline for Plaintiffs’ initial compliance with Local Rule CV-42(a), and April 30, 2024, as the

deadline for any “motions related to venue, forum, or related cases.” Id. at 2.

        On April 29, 2024, Plaintiffs filed a Notice of Related Cases. See Notice. Plaintiffs U.S.

Chamber of Commerce and Texas Association of Business ask to be excused from the requirement

to “disclos[e] . . . whether any party in a related case is a member of any plaintiff association here” on

First Amendment grounds. Scheduling Order at 2; Notice ¶ 3. However, Plaintiffs represent that Ryan

is a member of the Texas Association of Business (and is not a member of either the Business

Roundtable or the Longview Chamber of Commerce). Notice ¶ 4. Plaintiffs have not stated whether

Ryan is a member of the Chamber. See Notice. Texas Association of Business seeks “to pursue

litigation on behalf of all of its members,” while also representing that its member Ryan “will not seek




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  Although Plaintiffs served the United States Attorney’s Office pursuant to Fed. R. Civ. P. 4(i)(1)(A),
Defendants have been unable to confirm service on the Attorney General as required by Fed. R. Civ.
P. 4(i)(1)(B)-(C). See Summons Returned, ECF Nos. 13, 14 (noting only hand delivery to the U.S.
Attorney’s Office).
2
  On April 25, 2024, ATS Tree Services, LLC filed a lawsuit in the U.S. District Court for the Eastern
District of Pennsylvania, asking the court to “set[] aside the Final Rule.” Compl., Prayer for Relief,
ATS Tree Servs., LLC v. FTC, No. 2:24-cv-1743 (E.D. Pa.). Plaintiffs here represent that ATS Tree
Services is not a member of any of the Plaintiff organizations. Notice ¶ 5.
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to enforce any remedy in this suit that is limited to the members of the plaintiff organizations.” Id.

¶¶ 4, 6.

                                              ARGUMENT

           Plaintiffs—four associations—can only represent the interests of members who they have

specifically identified through evidence in the record. As of now, Plaintiffs have identified two such

companies—Highland Landscaping and Alloy Precision Technologies—both of which are members

of the Chamber. Therefore, any relief entered by this Court would not apply to Ryan and transfer

would not be necessary. However, if this Court determines that the Texas Association of Business

and the other Plaintiffs can litigate on behalf of all their unidentified members—including Ryan—this

case should be transferred to the Northern District of Texas, the venue of the first-filed action, Ryan,

LLC v. FTC. In other words, Plaintiffs cannot proceed as associations purporting to litigate on behalf

of their entire respective memberships, which allegedly total in the millions and which the largest

Plaintiff insists on keeping secret, while carving out individual members on an ad hoc basis as it suits

them.

I.         Plaintiffs Cannot Litigate This Case on Behalf of Millions of Anonymous Members.

           In this case, Plaintiffs purport to represent all of their unidentified members, see Notice ¶ 4;

Compl., Prayer for Relief. Yet Plaintiffs have submitted evidence of just two individual Chamber

members that are allegedly harmed by the Final Rule: Highland Landscaping, LLC, see Pls.’ Mot. Ex.

E (Decl. of Ian MacLean) ¶ 3, ECF No. 12-5, and Alloy Precision Technologies, Inc., see id., Ex. F

(Decl. of Michael Canty) ¶ 3, ECF No. 12-6. And Texas Association of Business has now disclosed

that Ryan—the plaintiff in a separate action that presents nearly identical issues, see infra Argument

II—is one of its members, but represents that Ryan will “not seek to enforce” any remedy that the

Texas Association of Business may obtain on its behalf. Notice ¶ 6.




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        Otherwise, the associations’ members have not been identified in court or agreed to be bound

by any judgment—indeed, nothing suggests that they have given the organizations authority to litigate

on their behalf or are even aware of this suit. The Chamber claims that it “directly” represents 300,000

members and “indirectly” represents “more than three million U.S. businesses and professional

organizations,” but provides no information about how these organizations become members or what

it means for the organization to “indirectly” represent certain entities. See Pls.’ Mot. Ex. D (Decl. of

Glenn Spencer) ¶ 3, ECF No. 12-4. Longview Chamber of Commerce states that its membership

includes “over 1,000 businesses and professional organizations,” but likewise does not provide any

information about how an organization becomes a member. See id. Ex. C ¶ 3, ECF No. 12-3. Business

Roundtable states that it is “comprised of more than 200 chief executive officers,” but does not specify

which executives are members or describe the membership process. See id. Ex. G ¶ 1, ECF No. 12-7.

And Texas Business Association offers no information whatsoever about its membership. See id. Ex.

B ¶ 3, ECF No. 12-2.

        Given the dearth of information about Plaintiffs’ membership, there is no reason to believe

that their so-called “members” exercise any oversight or control over the organizations. Cf. Friends of

the Earth, Inc. v. Chevron Chem. Co., 129 F.3d 826, 829 (5th Cir. 1997) (to establish associational standing,

an organization must identify “indicia of membership” such as “a clearly articulated and

understandable membership structure” with members who “elect[] the governing body”). What’s

more, Plaintiffs argue that that one of their members, Ryan, can opt out of any relief from this Court

by essentially claiming that Texas Association of Business does not represent its interests. Notice ¶ 6.

But Plaintiffs have not submitted any declarations from any other entities besides Highland

Landscaping and Alloy Precision Technologies purporting to be a member whose interests they do

represent in this action. Further, permitting Plaintiffs to represent their undisclosed members in this

manner would allow any member to sit on its hands while this case proceeds before deciding whether

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to take advantage of any relief awarded in this case, or to simply opt out and file a separate lawsuit

elsewhere. Accordingly, any relief entered by this Court in favor of Plaintiffs should not apply to any

entity other than Highland Landscaping and Alloy Precision Technologies.

II.     In the Alternative, If the Court Permits Plaintiffs to Continue to Litigate on Behalf of
        Unidentified Members, the Court Should Transfer This Case to the Venue of the First-
        Filed Case.

        However, if Plaintiffs contend (and the Court agrees) that Plaintiffs, including the Texas

Association of Business, can represent all of their members, including those not specifically identified

by declaration in this action, and that any relief ordered would run to those unidentified entities, then

transferring the case to the Northern District of Texas would be the proper course. There is no basis

or mechanism for Ryan to choose to “opt out” of this litigation; thus, because Ryan is a member of

the Texas Association of Business, any relief this Court may award as to the Texas Association of

Business’s membership would also apply to Ryan. That would give Ryan the proverbial “two bites at

the apple” and raise the specter of inconsistent judgments. Cf. West Gulf Maritime Ass’n v. Int’l

Longshoremen’s Ass’n, 751 F.2d 721, 731 n.5 (5th Cir. 1985) (holding transfer was appropriate because

the local union defendants were “in privity” with the association in the first-filed suit and “could be

bound by any injunction the [first-filed] court . . . might issue”). 3

        In the Fifth Circuit, the “first-to-file” rule governs circumstances when a subsequent suit

involves parties and issues that are “substantially similar” to those in an earlier one. Sutter Corp. v. P&P



3
  Moreover, the Court should reject Plaintiffs’ request to be excused on First Amendment grounds
from complying with the Court’s related-case disclosure requirement. See Notice ¶ 3. In the context
of litigation, there exists a strong, “constitutionally-embedded presumption of openness in judicial
proceedings.” Sealed Appellant v. Sealed Appellee, No. 22-50707, 2024 WL 980494, at *3 (5th Cir. Mar.
7, 2024) (quoting Doe v. Stegall, 653 F.2d 180, 186 (5th Cir. 1981)). That presumption applies with no
less force where, as here, an association steps into the shoes of its members to seek relief on their
behalf. Here, the identities of the parties on whose behalf Plaintiffs purport to seek relief is a critical
threshold issue to prevent duplicative litigation and potentially inconsistent judgments binding the
same party. The cases that Plaintiffs cite do not hold otherwise.

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Indus., Inc., 125 F.3d 914, 920 (5th Cir. 1997). Under this rule, the second suit may be “dismissed,

stayed[,] or transferred and consolidated” with the first. Id. This rule is “grounded in principles of

comity and sound judicial administration,” as federal courts have “long have recognized that the

principle of comity requires federal district courts—courts of coordinate jurisdiction and equal rank—

to exercise care to avoid interference with each other’s affairs.” Save Power Ltd. v. Syntek Fin. Corp., 121

F.3d 947, 950 (5th Cir. 1997) (citation omitted); see also West Gulf Maritime Ass’n, 751 F.2d at 729

(“Considerations of comity and orderly administration of justice dictate that two courts of equal

authority should not hear the same case simultaneously.”) (citation omitted). “The concern manifestly

is to avoid the waste of duplication, to avoid rulings which may trench upon the authority of sister

courts, and to avoid piecemeal resolution of issues that call for a uniform result.” Save Power, 121 F.3d

at 950 (citation omitted). It “applies where related cases are pending before two judges in the same

district . . . as well as where related cases have been filed in different districts.” Id.

        As a procedural matter, the “Fifth Circuit adheres to the general rule that the court in which

an action is first filed is the appropriate court to determine whether subsequently filed cases involving

substantially similar issues should proceed.” Id. A “second-filed court plays a limited role when

presented with a motion to transfer or stay based on the first-to-file rule.” Platt v. Nash, No. 4:16-cv-

294, 2016 WL 6037856, at *1 (E.D. Tex. Oct. 14, 2016). That role is to decide whether the movant

has shown a “likelihood of substantial overlap” between the two suits. Mann Mfg., Inc. v. Hortex, Inc., 439

F.2d 403, 408 (5th Cir. 1971) (emphasis added); accord Cadle Co. v. Whataburger of Alice, Inc., 174 F.3d

599, 606 (5th Cir. 1999) (second-filed court should determine only whether “the issues might

substantially overlap”) (emphasis added). If the movant makes this showing, then the second-filed




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court should transfer the action to the first-filed court “to resolve the question of whether both [cases]

should be allowed to proceed.” Platt, 2016 WL 6037856, at *1 (citation omitted). 4

        The factors relevant to the substantial overlap inquiry “include whether ‘the core issue’ in each

case is the same and whether ‘much of the proof adduced . . . would likely be identical.’” Marshall v.

Chevron U.S.A. Inc., No. MO:19-cv-273-DC-RCG, 2020 WL 9813023, at *2 (W.D. Tex. Dec. 10, 2020)

(citation omitted), report & recommendation adopted, No. MO:19-cv-273-DC, 2021 WL 2181148 (W.D.

Tex. Jan. 6, 2021). Courts have also examined “the extent of [the] overlap, the likelihood of conflict,

the comparative advantage and the interest of each forum in resolving the dispute.” Save Power, 121

F.3d at 951 (quoting TPM Holdings, Inc. v. Intra-Gold Indus., Inc., 91 F.3d 1, 4 (1st Cir. 1996)).

        These factors weigh in favor of transfer. First, the issues in this case have a “likelihood of

substantial overlap” with Ryan. Like this case, Ryan involves a challenge to the Final Rule under the

Administrative Procedure Act. See generally Ryan Compl. And both cases seek effectively identical

relief—that the Court vacate and set aside the Final Rule. Compare id., Prayer for Relief ¶ 75 with

Compl., Prayer for Relief.

        More specifically, both cases involve claims that the Commission lacks statutory authority to

promulgate rules under Section 6(g) of the FTC Act, compare Ryan Compl. ¶¶ 51-58 with Compl. ¶¶

88-92, and that the Final Rule violates the nondelegation doctrine, compare Ryan Compl. ¶¶ 59-63 with

Compl. ¶¶ 98-101. To be sure, the other claims differ in some respects. In the Ryan case, the plaintiffs



4
  Earlier Fifth Circuit cases suggest that the second-filed court also has the discretion, in appropriate
circumstances, to dismiss or stay the second-filed action. See, e.g., West Gulf, 751 F.2d at 729 & n.1
(while “a district court may dismiss an action where the issues presented can be resolved in an earlier-
filed action pending in another district court,” “it sometimes may be appropriate to transfer the action
or to stay it”); id. at 730 (“Our holding and discussion in Mann make plain that in this [second-filed]
case the district court should have stayed, dismissed, or transferred [the plaintiff’s] action.”). Although
those cases do not appear to have been overturned, later Fifth Circuit cases indicate that “once the
[second-filed] court [finds] that the issues might substantially overlap, the proper course of action [i]s
for the court to transfer the case to the [first-filed] court to determine which case should, in the
interests of sound judicial administration and economy, proceed.” Cadle Co., 174 F.3d at 606.
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bring a claim that is not at issue here: that the Commissioners’ removal protections violate Article II.

Ryan Compl. ¶¶ 64-68. And in this case, Plaintiffs bring four additional claims that are not at issue in

the Ryan case: (1) the Final Rule involves an unlawful interpretation of the phrase “unfair methods of

competition” in Section 5 of the FTC Act, Compl. ¶¶ 93-97; (2) the Final Rule impermissibly imposes

retroactive consequences on employers and workers, id. ¶¶ 102-06; (3) the Final Rule is arbitrary and

capricious because the Commission did not adequately support its decision, id. ¶¶ 107-13; and (4) the

Final Rule is arbitrary and capricious because the Commission failed to consider alternative proposals,

id. ¶¶ 114-20. But while these cases do not involve identical claims, the “core issue” in each concerns

the lawfulness of the Final Rule, and this Court need only determine whether the cases “might

substantially overlap.” Cadle Co., 174 F.3d at 606 (emphasis added).

        Second, as noted, Ryan’s membership in the Texas Association of Business poses a risk of

inconsistent judgments were this suit to proceed in a separate forum. That the parties here are not

identical to those in Ryan does not change the calculus. Under the first-to-file rule, “[c]omplete identity

of parties is not required for dismissal or transfer of a case filed subsequently to a substantially related

action.” Save Power, 121 F.3d at 951. The Fifth Circuit has explained that an “incomplete identity of

parties does not mandate that two ‘essentially identical’ actions remain pending simultaneously where,”

as here, any “missing parties probably could be made parties” to the first-filed case. Id. (citing West

Gulf, 751 F.2d at 731 n.5). Further, the Fifth Circuit has repeatedly noted that the first-to-file rule may

be applied to “dismiss[] [a] second-filed action without prejudice even though it involved different

plaintiffs than the first-filed action.” Id. (citation omitted); accord West Gulf, 751 F.2d at 731 n.5.

        Third, Ryan and this case are both at preliminary stages of litigation. In this case, Plaintiffs

have not yet perfected service, and they have until May 10, 2024 to supplement their existing

preliminary injunction motion. See Scheduling Order, ECF No. 20. Defendants have yet to file any

briefing in response. Transfer would not delay resolution of either proceeding. And it is in the interest

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of both the Court and the parties to transfer the action at this early juncture, before additional judicial

or litigation resources are spent on parallel matters with nearly identical issues and overlapping parties.

See Nat’l Health Fed’n v. Weinberger, 518 F.2d 711, 712-13 (7th Cir. 1975) (“Where the issues in the other

pending suit are the same, then the effect to be given to that action should be further guided by broad

principles of convenience, expediency, and efficiency.”).

        In sum, if Plaintiffs purport to litigate on behalf of entities beyond the two that have

specifically alleged that they are injured by the Final Rule, this Court should transfer this case to the

Northern District of Texas. Given the similarity of the claims, relief sought, and the parties, there is

at least a “likelihood of substantial overlap” between this case and Ryan, see Mann, 439 F.2d at 408

(emphasis added), and the Court should transfer this action to the first-filed forum.

                                           CONCLUSION

        For those reasons, Defendants respectfully request that the Court should limit Plaintiffs to

litigating on behalf of only those members whom they have specifically identified and who have given

them authority to do so. Alternatively, if the Court concludes that Plaintiffs may litigate on behalf of

their respective memberships, the Court should transfer this case to the Northern District of Texas

under the first-to-file rule.

Dated: April 30, 2024                            Respectfully submitted,

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                                                 Assistant Branch Director

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                              CERTIFICATE OF CONFERENCE

         I, Rachael Westmoreland, hereby certify that on April 30, 2024, counsel for the parties met

and conferred via teleconference regarding the instant motion. During that conference, counsel for

the parties discussed the issues to be presented in Defendants’ motion. The parties were unable to

reach agreement on these issues, and Plaintiffs oppose the relief sought herein.


The following counsel participated in this meet and confer:

Judson Littleton
Jeffrey Wall

Counsel for Plaintiffs

Rachael Westmoreland
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